          Case 3:16-cr-00261-WQH                       Document 162                  Filed 02/23/17             PageID.395              Page 1 of 4


    ~AO 245B (CASD) (Rev. 4/14)    Judgment in a Criminal Case
               Sheet 1




                                              UNITED STATES DISTRICT COURT                                                          1~7 FEQ 23 PM 12: IS
                                                  SOUTHERN DISTRICT OF CALIFORNIA
                    UNITED STATES OF AMERICA                                        2ndAMENDED JUDGMENT IN A CRIMINAL CASE
                                        v,                                          (For Offenses Committed On or After i;fJ;ember 1, 1987~ OEPOTY

                      TAILER YVONNE HAYES (1)                                       Case Number: 16CR0261-WQH
                                                                                    TIMOTHY SCOTT, CJA
                                                                                    Defendant's Attorney
    REGISTRATION NO. 52268298
    181 Correction of Sentence for Clerical Mistake to special conditions (Fed. R. Crim. P.36)
    THE DEFENDANT:
    181 pleaded guilty to count(s) 1 OF THE SUPERSEDING INFORMATION

    D was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea ofnot guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
    Title & Section                          Nature of Offense                                                                             Number(s)
18 USC 2425                           Use of Interstate Facilities to Transmit Information About a Minor




       The defendant is sentenced as provided in pages 2 through                4          of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984.
 D The defendant has been found not guilty on count(s)
 181 Count(s) UNDERLYING INDICTMENT                         -----------------------------
                                                                                     is 18.J   areO dismissed on the motion of the United States.
 181 Assessment $100.00


 181 Fine waived                                   0 Forfeiture pursuant to order filed                                  , included herein.
                                                                                          ---------
      IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                              JANUARY 17, 2017




                                                                              ~~
                                                                             HON. WILLIAM Q.
                                                                             UNITED STATES DISTRICT JUDGE
                                                                                                               S




                                                                                                                                             16CR0261-WQH
      Case 3:16-cr-00261-WQH                      Document 162            Filed 02/23/17         PageID.396            Page 2 of 4


AO 245B (CASO) (Rev. 4/14) Judgment in a Criminal Case
           Sheet 2 - Imprisonment

                                                                                                 Judgment- Page _ _
                                                                                                                  2_     of    4
 DEFENDANT: TAILER YVONNE HAYES (1)
 CASE NUMBER: 16CR0261-WQH
                                                          IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          41 months




      D Sentence imposed pursuant to Title 8 USC Section 1326(b).
      ~ The court makes the following recommendations to the Bureau of Prisons:
          That the defendant be designated to a facility in the Western Region and participate in the Residential Drug Abuse Program
          (RDAP)



      D The defendant is remanded to the custody of the United States Marshal.
      D The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.      op.m.       on _ _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

      0 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         D before
                      -------------------------------------
          0 as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.

                                                                RETURN

I have executed this judgment as follows:

         Defendant delivered on                                                     to

 at                                                  with a certified copy of this judgment.


                                                                                               UNITED STATES MARSHAL



                                                                      By - - - - - -DEPUTY
                                                                                    - - -UNITED
                                                                                           ---    - -MARSHAL
                                                                                                STATES ---------




                                                                                                                       16CR0261-WQH
       Case 3:16-cr-00261-WQH                       Document 162                Filed 02/23/17             PageID.397              Page 3 of 4

AO 245B (CASD) (Rev. 4114) Judgment in a Criminal Case
              Sheet 3 - Supervised Release
                                                                                                               Judgment-Page __3__ of _ __o4_ __
DEFENDANT: TAILER YVONNE HAYES(!)
CASE NUMBER: 16CR0261-WQH
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
3 years

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          --
D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)

       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       Tue defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall comply with llie requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifying offense. (Check if applicable.)
D      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.


                                        STANDARD CONDITIONS OF SUPERVISION

  I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
 11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
        record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
        defendant's compliance with such notification requirement.

                                                                                                                                      16CR0261-WQH
   Case 3:16-cr-00261-WQH                     Document 162   Filed 02/23/17      PageID.398        Page 4 of 4

   AO 2458   (Rev. 9/00) Judgment in a Criminal Case
             Sheet 4 - Special Conditions
                                                                               Judgment-Page _4_ of            4
   DEFENDANT:               TAILER YVONNE HAYES (1)
   CASE NUMBER:             16CR0261-WQH

                                    SPECIAL CONDITIONS OF SUPERVISION

 Submit your person, property, house, residence, vehicle, papers, computer, electronic communications or data storage
devices or media, and effects to search at any time, with or without a warrant, by any law enforcement or probation
officer with reasonable suspicion concerning a violation of a condition of probation/supervised release or unlawful
conduct, and otherwise in the lawful discharge of the officer's duties. 18 U.S.C. §§ 3563 (b)(23); 3583 (d)(3).

 Not have any contact, direct or indirect, either telephonically, visually, verbally or through written material, or
through any third-party communication, with the victims or victims' family, without prior approval of the
probation officer.

Not knowingly associate with known prostitutes or pimps

Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

Not use or possess devices which can communicate data via modem or dedicated connection and may not have
access to the Internet without prior approval from the court or the probation officer. The offender shall consent
to the installation of systems that will enable the probation officer to monitor computer use on any computer
owned or controlled by the offender. The offender shall pay for the cost of installation of the computer
software.

Participate in a program of drug or alcohol abuse treatment, including drug testing and counseling, as directed
by the probation officer. Allow for reciprocal release of information between the probation officer and the
treatment provider. May be required to contribute to the costs of services rendered in an amount to be
determined by the probation officer, based on ability to pay.

Provide complete disclosure of personal and business financial records to the probation officer as
request.
